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                                                                                           Suppl No
                                                                       1300225-15          0005
  HOUSTON POLICE DEPARTMENT
                                         Reported Date
                                         10/09/2015.
                                         Offense Report nUe
                                         Investigation - Mental Health/Illness/NPC
                                         OlllcerName
                                         REYNA, R




                                                                                       ton


                                                                  - Patrol




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COMPLAINANT STATEMENTS:




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WITNESS STATEMENTS:
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REPORTEE STATEMENT:
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OFFICER'S PARAGRAPH/SCENE DESCRIPTION:
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OFFICER'S ACTIONS:
==================                                                             •     EXHIBIT


DISPOSITION:
============
                                                                               i UP
Report Officer                                      Prtntedl>J.
082910/REYNA, R                                     06/12/2017 14:44         Page 1 of 4
                                                                              TASER_TAYLOR 005116

                                                                        PLTF RESP EXHIBIT 6
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                                                                                                     Suppl No
                                                                               1300225-15             0005
   HOUSTON POLICE DEPARTMENT
  Narrative
 SUSPECT STATEMENTS:
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 PROPERTY/EVIDENCE FOUND OR RECOVERED:
 =====================================



SUPERVISOR CONDUCTED ENERGY DEVICE (CEO) SUPPLEMENT
Officer(s) Discharging CED:Karen Taylor
Employee Number (s):134411
Make/Model Number of CED Device:Taser X2
Serial Number of CED Device:X29001 CP2
Serial Number of Air Cartridges used:(C6200WCVC) (C6200WCTH)
Location of dart strikes or drive stunned:FRONT CHEST AREA
Darts removed by:SUSPECT
Medical condition of SuspectGOOD, ABRASION TO FOREHEAD AND CUT LIP
CEO RECORDED DOWNLOAD INFORMATION
Date: 10/8/15                 Time: 12;46          Duration:5 SEC
Date: 10/8/15                 Time: 12: 46         Duration:5 SEC
Date 10/8/15                  Time 12;46           Duration 5 sec
Suspect transport to: BEN     TAUB           by:UNIT 3B31D OFFICER T. MCCURRY #129532, D. WEBB
#155292
Jail person notified of CEO   Event:

Sergeant R. Reyna, riding unit 6B070, arrived on the scene at 1255 hours. The location of the CEO event was
857 W. Tidwell. Sergeant R. Reyna conducted an inquiry into the CEO event and gathered the information
required for this supplemental report. The suspect was provided medical treatment at the scene by HFO #13.
Sergeant R. Reyna obtained Officer K. Taylor #134411 CEO device and later downloaded the device to obtain the
 recorded information that includes: date, time, and duration of CEO cycles. Sergeant Reyna notified the
Command Center of the CEO event, completed the Significant Event Report, and then emailed/faxed the report to
the Command Center. Sgt Clay at the Command Center verified receipt of the Significant Event Report. Sergeant
 Reyna then completed the CEO Checklist, generated this supplemental report, and submitted the completed CEO
 packet for review.

Officer(s) Qn scene   gyn,ng CEO activation:
K. Taylor #134411

Summary gf officerlwitnesslsyspect statements not alreadv Inclyded      in!! report:

Summary of CED Djscharge:
OFFICER TAYLOR DISCHARGED IWQ CARTRIDGES AI ItIS SUSPECT STRIKING SUSPECT IN TORSO.
THE SECOND CARTRIDGE UAQ LITTLE EFFECT AND OFFICER TRYED TO DRY STUN THE SUSPECT
BUT TASER mil ~ APPEAR IQ WORK.

Sergeant's reiteration of ~ officer's Iystification fQr the CED activation:
Report O1I1cer                                         Printed At
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                                                                                        TASER_ TAYLOR 005117
                                                                                 PLTF RESP EXHIBIT 6
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 HOUSTON POLICE DEPARTMENT
  Narrative
II:1& SUSPECT    GRABBED ANQ STRUCK          AI OFFICER.

In conclusion, Sergeant R. Reyna reviewed the original report and/or supplemental report(s) and found that itlthey
 contained all of the required facts.

USE QE FORCE SUPPLEMENT FOR ON-SCENE SERGEANT:
Officer with employee number:       K. TAYLOR #134411, J. BLAND #102031, C. REYES #138240, K. BOUNDS
#99209, R. REYNA #82910
Used force on suspect (Last name, First name): WALKER, FLORENCE

Sergeant On-Scene checks (X) to Indicate the following were completed by the Officer using force.

(x ) Prior to going off duty, each officer using force on a suspect completed an incident or supplement report that
included the following:
                ( x ) Use of Force form.
                ( x ) Names of all officers on the scene when force was used.
                (x ) Names of all officers who used force during incident.
                ( x ) Specific reason that justified use of force, including the suspect's actions or behaviors.
                (x ) Medical condition of the suspect and where and by whom the suspect was transported.
                (x ) Medical condition of the officer and if 100 paperwork was completed.

Sergeant On-Scene checks (X) to indicate hlslher following responsibilities were completed.

(x ) Within three days following the incident, reviewed the incident report and all accompanying supplement
reports to ensure inclusion of all necessary data.

( x ) Within three days following the incident, completed a supplement using the Use of Force supplement
template and included the following:
                 ( x ) Name and employee number of officers using force.
                 (x ) Medical condition of the suspect and where and by whom the suspect was transported.
                 ( x ) Medical condition of the officer and if 100 paperwork was completed.

(x ) Completed the supplement narrative and included the following:
              ( x ) Date and time of the sergeant's arrival on the scene.
              ( x ) Any officer statement not included in the incident or supplement reports.
              (x ) The sergeant's narrative of events of incident.
              (x ) A statement that the supervisor reviewed the incident report and it contains all of the required
facts.

Please complete:

Medical condition of the suspect: Good, minor abrasion on forehead and cut IIp...Treated at scene by HFD


Suspect transported to: Ben Taub
Suspect transported by:Unit 3B31D, OFFICER T. MCCURRY #129532, D. WEBB #155292

Medical condition of the officer:    POSSIBLE INJURY TO RIGHT HAND

Sergeant's Observations and Actions:
I, SERGEANT R. REYNA #82910 ON 10/8/15 RESPONDED TO AN ASSIST THE OFFICER CALL AT 857 W.

Report O1flCer                                            Printed AI
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 ,               HOUSTON POLICE DEPARTMENT
,I              Narrative
                TIDWELL. I ARRIVED AT APPROXIMATELY 1255 HOURS. OFFICER K. TAYLOR HAD RECEIVED A CALL
                ABOUT A FEMALE WHO HAD RETURNED TO THE BUSINESS AFTER BEING TOLD EARLIER BY
                OFFICERS NOT TO RETURN. THE SUSPECT HAD BEEN INSIDE THE STORE OPENING WATER BOTTLES
                AND TAKING A DRINK THEN PUTTING THEM BACK ON SHELF. WHEN OFFICER TAYLOR CONFRONTED
                THE SUSPECT OUTSIDE THE STORE, THE SUSPECT BECAME WAS EXTREEMELY AGGITATED AND
                BEGAN CURSING OFFICER. OFFICER TAYOR ATTEMPTED TO CALM THE SUSPECT DOWN AND PUT
                HER HAND ON THE SUSPECTS ARM TO LEAD HER TO THE PATROL VEHICLE. THE SUSPECT JERKED
                HER ARMS AWAY FROM OFFICER AND THEN BEGAN TO RUN BACK INTO THE CONVENIENCE STORE.
                OFFICER TAYOR CONFRONTED THE SUSPECT ONCE AGAIN, WHO THEN GRABBED OFFICER TAYLOR
                IN A BEAR HUG AND ATTEMPTED TO STRIKE OFFICER WITH HER FISTS. OFFICER TAYLOR WAS TO
                CLOSE TO THE SUSPECT AT THIS TIME TO DEPLOY HER CED DEVICE AND HAD TO FIGHT THE
                SUSPECT HAND TO HAND STRIKING THE SUSPECT SEVERAL TIMES, BEFORE SHE EVENTUALLY
                TASERED THE SUSPECT TWO TIMES IN THE CHEST AREA, HAVING LITTLE EFECT ON THE SUSPECT,
                WHO PULLED THE DARTS OUT AND CONTINUED TO RUN AROUND THE STORE. BACK UP UNITS
                ARRIVED AND WERE FINALLY ABLE TO TAKE THE SUSPECT INTO CUSTODY. THE SUSPECT WAS
                TREATED AT THE'SCEND BY HFD #13 AND THEN TRANSPORTED TO BEN TAUB BY UNIT 3B31D. THE
                DA REFUSED CHARGES ON THE SUSPECT, DUE TO HER MENTAL STATE. THE SUSPECT WAS
                ADMITTED TO BEN TAUB ON AN EMERGENCY DETENTION ORDER TO DEAL WITH HER MENTAL
                HEALTH ISSUES. OFFICER TAYOR WAS TREATED AT THE SCENE FOR A HAND INJURY AND WILL
                SEEK FURTHER MEDICAL ATTENTION. INJURED ON DUTY PAPER WORK WAS INITIATED.




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